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  from:                              jason galanis <jason@holmbycompanies.com>
  Sent:                               Monday, February 10, 2014 11:12 PM
  To:                                 Hugh DP Dunkerley
  Cc:                                 Bevan Cooney; Devon Archer
  Subject:                            RSTP Capital Bank account
  Attachments:                        RSTP Capital LLC articles.pdf; RSTP Capital Operating Agreement Delaware.doc; RSTP
                                      Capital No CA biz letter.docx; RSTP Resolution Appointing Bank Signatory
                                      {Blank}.docx; Subscription Agreement (Subscriber - HSDC Capital Fund, LLC).pdf;
                                      Subscription Agreement (Subscriber - RSTP Capital, LLC).pdf



  hugh

  attached are the documents for the bank account. they are:

  1. articles of formation
  2. operating agreement
  3. no business in california
  4. board of managers resolution to open a bank account

  Bevan, you need to sign the Operating Agreement on behalf of BOE Capital, the sole Member of the LLC. Return it to
  Hugh above.

  Hugh, please obtain a FEIN in the morning online. You will need it for the bank account.

  The expected transaction flow will be a $595,000 transfer from the account of Ballybunion at Banc of California initiated
  when you open this account. Nordgren will be initiating that internal transfer.

  RSTP will be wiring $594,000 to mbloom in connection with the Subscription Agreement (attached) and the related
  capital call.

  Thank you.

  Jason




                                                                                                               GOVERNMENT
                                                                                                                 EXHIBIT
                                                                                                                     1:286


CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                   BC003984
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                         I, JEFFREY W. BULLOCK1 SEC 'ETARY OF STATE OF THE STA.TE OF

                DELAWARE 1 DO HEREBY CERTIFY THJ!.J ATTACHED IS A TRUE AND CORRECT

                COPY 01!' THE CERTIFICATE OF FORMATION OF "RSTP CAPITAL LLC",

                FILED IN THIS OFFICE ON THE FOURTH DAY OF DECEMBER, A.D. 2013,
                AT 2:44 O'CLOCK P.M.




                                                                               Jeffrey W. 6ul!od::, Secretary of State
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       HUNTER TAUBMAN WEISS, LLP
       575 LEXINGTON AVENUE
       NEW YORK                      NY       1.0022

       ATTN: ELLIOT WEISS


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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                              BC003987
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                                           OPERATING AGREEMENT
                                                    OF
                                             RSTP CAPITAL LLC

           THIS OPERATING AGREEMENT is made effective as of the 1st day of February 2014, by and
           between BOE Capital LLC (the "Member") and RSTP Capital LLC (the "Company").

                                                   ARTICLE I
                                                  DEFINITIONS

           The following terms used in this Operating Agreement shalt have the following meanings:

           1.1 "Act" shall mean the Delaware Limited Liability Company Act, codified at 68 Del. Laws, c. 434,
               §1, ~~-(the "Act"), as amended from time to time.

           1.2 "Articles of Organization" shall mean the Articles of Organization of the Company as filed
               with the Secretary of State of Delaware, as amended from time to time.

           1.3 "Capital Contribution" shall mean any contribution to the capital of the Company in cash or
               property by the Member whenever made.

           1.4 "Cash Flo\v 11 shall mean the gross cash proceeds from the operation of the Company's business
               less the portion thereof used to establish Reserves for or to pay Company expenses, debt
               payments and capital expenditures. "Cash Flow" shall include any net cash proceeds from the sale
               or disposition of Company property and from the refinancing of indebtedness of the Company,
               shall be increased by any reduction of Reserves previously established by the Member, and shall
               not be reduced by depreciation, cost recovery, amortization or similar non-cash deductions.

           1.5 "Company" shall refer to RSTP Capital LLC

           1.6 "Entity" shall mean any general partnership, limited partnership, limited liability partnership,
               limited liability company, corporation, joint venture, tlust, business bust, cooperative,
               association, foreign trust, foreign business organization or other business entity.

           1.7 "Fiscal Year" shall mean the period terminating on December 31 of each year during the term
               hereof or on such earlier date on which the Member's taxable year ends.

           1.8 "Initial Capital Contribution" shall mean the initial contribution to the capital of the Company
               pursuant to Paragraph 6.1 of this Operating Agreement.

           1.9 "Member" shall mean the Person who executed a counterpat1 of this Operating Agreement as a
               Member and any Person who may hereafter become a member of the Company.

           t.10        "Net Profits" and "Net Losses" shall mean the income, gain, loss, deductions and
              credits of the Company in the aggregate or separately stated, as appropriate, as of the close of
              each Fiscal Year.

           1.11        "Operating Agreement" shall mean this Operating Agreement as originally executed
               and as amended from time to time.




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           1.12         "Person" shall mean any individual or Entity, and the heirs, executors, administrators,
               legal representatives, successors and assigns of such "Person," where the context so permits.

           1.13         "Representative" shall mean the legally appointed guardian of a mentally incapacitated
               Member, the conservator of a mentally incapacitated Member's assets or the legally appointed
               and qualified executor or personal representative of the estate of a deceased Member. In the event
               no such guardian, executor or personal representative is appointed, then the Representative shall
               mean the spouse of such incapacitated or deceased Member, or if such Member does not have a
               spouse or the spouse is not then living or is unable or unwilling to act, such Member's then living
               lineal descendants who are willing and capable of acting, one at a time in descending order of age
               but in no event younger than 21 years of age or, if none, such Member's then-living lineal
               ancestors who are willing and capable of acting, one at a time and in ascending order of age.

           Ll4        "Reserves" shall mean funds set aside or amounts allocated to reserves which shall be
              maintained in amounts deemed sufficient by the Member for working capital and to pay taxes,
              insurance, debt service or other costs or expenses incident to the ownership or operation of the
              Company's business.

           l.15         ":Manager" means one or more managers. Specifically, "Manager" means the Person
               listed below in Section 4.2, or any other Persons that succeed him, her or it :in that capacity.
               References to the Manager in the singular or as him, her, it, itself~ or other like references will
               also, where the context so requires, be deemed to include the plural or the masculine or feminine
               preference, as the case may be.

                                                ARTICLE II
                                           FORMATION OF COMPANY

           2.1 Formation. The Company shall be, or has been, organized as a Delaware limited liability
               company by executing and delivering Articles of Organization lo the Delaware Secretary of State
               in accordance with and pursuant to the Act.

           2.2 Name. The name of the Company is "RSTP Capital LLC".

           2.3 Place of Business. The principal place of business of the Company is Delaware. The Company
               may locate its places of business and registered office at any other place or places as the Member
               may deem advisable.

           2.4 Registered Office and Registered Agent. The Company's initial registered office shall be at the
               office of its registered agent at 1209 Orange Street · Wilmington DE 19801, and the name of its
               initial registered agent shall be The Corporation Trust Company. The registered office and
               registered agent may be changed by the Member by filing the address of the new registered office
               and/or the name of the new registered agent with the Delaware Secretary of State pursuant to the
               Act.

           2.5 Term. The term of the Company shall continue indefinitely from the date of filing of the Articles
               of Organization with the Delaware Secretary of State, unless the Company is earlier dissolved in
               accordance with either the provisions of this Operating Agreement or the Act.




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                                                 ARTICLE HI
                                            BUSINESS OF COMPANY

               The business of the Company (its "Business") shall be:

           3 .1 To engage in the business of making investments in technology companies or technology
                focused funds.

           3.2 To exercise all other powers necessary to or reasonably connected with the Company's
               business that may be legally exercised by limited liability companies under the Act


           3.3 To engage in all activities necessary, customary, convenient or incidental to any of the
               foregoing.

                                             ARTICLE IV
                                      MANAGEMENT OF THE COMPANY

           4.1 Management of Company. The business and affairs of the Company will be managed by the
               managers (each individually a "Manager" and collectively the "Managers"), who may, but need
               not, be a Member. The Managers are authorized and directed to manage and control the business
               of the Company. Except for situations in which the approval of the Members is expressly
               required by non-waivable provisions of the Act, the Managers have full and complete authority,
               power and discretion to manage and control the business, affairs and properties of the Company,
               to make all decisions regarding those matters and to perform any and all other acts or activities
               customary or incident to the management of the Company's business. At any time when there is
               more than one Manager, any one Manager may take any action pem1itted to be taken by the
               Managers, unless the approval of more than one of the Managers is expressly required pursuant to
               this Agreement or the Act, in which case the Managers shall have the power to make decisions
               and take actions only with the consent of a majority of the Managers then outstanding.

           4.2 Manager. Hugh Dunkerley and Devon Archer shall serve as Managers and shall continue to
               serve as Managers until death, resignation, disability or removal with or without Cause. Either
               Manager has the power to bind the company acting alone as Manager.

           4.3 Certain Powers of Manager. Without limiting the generality of Section 5.1, the Manager shall
               have the power and authority on behalf of the Company to:

              (a) acquire any real or personal property from any Person, whether or not such Person is directly
              or indirectly affiliated or connected with the Manager or any Member;

              (b) borrow money for the Company from banks, other lending institutions, the Manager,
              Members, or Affiliates of the Manager or Members on such terms as the Manager deems
              appropriate, and in connection therewith, to hypothecate, mortgage, encumber and grant security
              interests in the assets of the Company to secure repayment of the borrowed sums, including
              margin borrowing on securities;




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              (c) construct, operate, maintain and improve any real and personal property owned by the
              Company;

              (d) prepay, in whole or in part, refinance, amend, modify or extend any mortgages or trust deeds
              affecting the assets of the Company and in connection therewith to execute for and on behalf of
              the Company any extensions, renewals or modifications of such m01tgages or trust deeds;

              (e) purchase liability and other insurance to protect the Company's property and business;

              (f) hold and own Company real and personal prope1ties in the name of the Company;

              (g) invest Company funds in time deposits, short-term governmental obligations, commercial
              paper or other investments;

              (h) sell, exchange or othe1wise dispose of all or substantially all of the assets of the Company as
              part of a single transaction or plan as long as such disposition is not in violation o( or a cause of a
              default under, any other agreement to which the Company may be bound;

              (i) execute on behalf of the Company all instruments and documents, including, without
              limitation, checks, drafts, notes, negotiable instruments and other evidences of indebtedness
              obligating the Company to pay money to a third party; mortgages or deeds of trusts; security
              agreements; financing statements; documents providing for the acquisition, mortgage or
              disposition of the Company's property; assignments and bills of sale; leases; and any other
              instruments or documents necessary or desirable to the business of the Company;

              G) endorse checks, drafts or other evidence of indebtedness to the Company for deposit into one
              of the Company's accounts;

              (k) employ employees accountants, legal counsel, managing agents, tradesmen, contractors,
              subcontractors or other Persons to perform services for the Company;

              (l) enter into any and all other agreements on behalf of the Company, in such fom1s as the
              Manager may approve;

              (m) commence lawsuits and other proceedings on behalf of the Company; and

              (n) Open bank accounts or securities accounts with licensed brokerage firms, trust companies,
              banks or other financial institutions and to deposit and manage cash and securities in those
              accounts and to transfer cash and securities at its discretion;

              (o) do and perform all other acts as may be necessa1y or appropriate to the conduct of the
              Company's business.

              Unless authorized to do so by this Agreement or by the Manager, no Member (other than a
              Member acting as a Manager), attorney-in-fact, employee or other agent of the Company shall
              have any power or authority to bind the Company in any way, to pledge its credit or to render it




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               liable for any purpose. No Member shall have any power or authority to bind the Company unless
               the Member has been authorized by the Manager to act as an agent of the Company in accordance
               with the preceding sentence. Any Member who takes any action or binds the Company in
               violation of this Section 5.3 shall be solely responsible for any loss and expense incurred by the
               Company as a result of the unauthorized action and shall indemnify and hold the Company and
               the Manager harmless with respect to such loss or expense.

           4.4 Liability for Certain Acts. The Manager shall perform its duties as Manager in good faith, in a
               manner it reasonably believes to be in the best interests of the Company, and with such care as an
               ordinarily prudent person in a like position would use under similar circumstances. If the
               Manager so perj(Jrms his or her duties as Manager he or she shall not have any liability by
               reason of being or having been a Manager of the Company. The Manager shall not be liable to
               the Company or to any Member for any loss or damage sustained by the Company or any
               Member, unless the loss or damage shall have been the result of fraud, deceit, gross negligence or
               willful misconduct by the Manager. TI1e Manager does not, in any way, guarantee the return of
               the Member's Capital Contributions or a profit for the Members from the operations of the
               Company.

           4.5 Manager Has No Exclusive Duty to Company. The Manager shall not be required to manage
               the Company as his sole and exclusive function, and he or she may have other business interests
               and engage in activities in addition to those relating to the Company, including but not limited to
               activities that may be competitive with the Company. Neither the Company nor any Member
               shall have any right, by virtue of this Agreement, to share or participate in such other investments
               or activities of the Manager or to the income or proceeds derived therefrom. The Manager shall
               incur no liability to the Company or any Member as a result of engaging in any other business
               interests or activities.

           4.6 Bank Accounts. The Manager may from time to time open bank accounts in the name of the
               Company, and the Manager shall be a signatory thereon.

           4.7 Indemnity of the Manager. The Company must indemnify and hold harmless the Manager from
               and against all claims and demands to the maximum extent permitted under the Act as provided
               more fully in Article X.

           4.8 Reimbursement to Manager; Salaries. The Company shall reimburse the Manager for all
               ordinary, necessary, and direct expenses inculTed by the Manager on behalf of the Company in
               carrying out the Company's business activities. The salaries and other compensation of the
               Manager will be fixed from time to time by the vote or written consent of at least a Majority
               Interest of the Members. No Manager is prevented from receiving such a salary or other
               compensation because the Manager is also a Member.

           4.9 Execution of Documents. Any document or instrument of any and every nature, including
               without limitation, any agreement, contract, deed, promissory note, mortgage or deed of trust,
               security agreement, financing statement, pledge, assignment, bill of sale and certificate, which is
               intended to bind the Company or convey or encumber title to its real or personal property shall be
               valid and binding for all purposes only if executed by the Manager.




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           4.10         Resignation. Any Manager of the Company may resign at any time by giving written
               notice to the Members of the Company. The resignation of any Manager shall take effect upon
               receipt of notice thereof or at such later date specified in such notice; and unless otherwise
               specified therein, the acceptance of such resignation shall not be necessary to make it effective.
               The resignation of a Manager who is also a Member shall not affect the Manager's rights as a
               Member and shall not constitute a withdrawal of a Member.

           4.11             Removal. Any Manager of the Company may be removed or replaced with or without
                  Cause by the vote of Members who hold at least a majority of Membership Interests. The removal
                  of a Manager who is also a Member will not affect the Manager's rights as a Member and will not
                  constitute a withdrawal of the Member.

                                                ARTICLEV
                                    RIGHTS AND OBLIGATIONS OF MEMBERS

           5.1 Limitation of Liability. The Member will not be personally liable for any obligations, liabilities,
               debts or losses of the Company, whether arising in tort, contract or otherwise, except as otherwise
               required by law.

           5.2 Right to Indemnification. Subject to the limitations and conditions provided in this Article 5 and
               in the Act, each Person ("Indemnified Person") who was or is made a party or is threatened to be
               made a party to or is involved in any threatened, pending or completed action, suit or proceeding,
               whether civil, criminal, administrative, arbitrative or investigative ("Proceeding"), or any appeal
               in such a Proceeding or any inquiry or investigation that could lead to such a Proceeding, by
               reason of the fact that he was or is a Member or an officer of the Company or he was or is the
               legal representative of or a manager, director, officer, partner, venturer, proprietor, trustee,
               employee, agent or similar functionary of a Member or of an officer of the Company, shall be
               indemnified by the Company against judgments, penalties (including excise and similar taxes and
               punitive damages), fines, settlements and reasonable costs and expenses (including, without
               limitation, attorneys' fees) actually incmred by such Indemnified Person in connection with such
               Proceeding if such Indemnified Person acted in good faith and in a manner he reasonably
               believed to be in, or not opposed to, the best interest of the Company and, with respect to any
               criminal action or proceeding, had no reasonable cause to believe his conduct was unlawful. The
               termination of any action, suit or proceeding by judgment, order, settlement, conviction, or upon
               a plea of nolo contendere or its equivalent, shall not, of itself, create a presumption that the
               Indemnified Person did not act in good faith and in a manner which he reasonably believed to be
               in or not opposed to the best interests of the Company or, with respect to any criminal action or
               proceeding, that the Indemnified Person had reasonable cause to believe that his conduct was
               unlawful.

           5.3 Survival. Indemnification under this Article 5 shall continue as to a Person who has ceased to
               serve in the capacity which initially entitled such Person to indemnity hereunder. The lights
               granted pursuant to this Article 5 shall be deemed contract rights, and no amendment,
               modification or repeal of this Article 5 shall have the effect of limiting or denying any such rights
               with respect to actions taken or Proceedings arising prior to any such amendment, modification or
               repeal.




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           5.4 Advance Payment. The right to indemnification conferred by this Article 5 shall include the
               right to be paid or reimbursed by the Company for the reasonable expenses incurred in advance
               of the final disposition of the Proceeding and without any detem1ination as to the Indemnified
               Person's ultimate entitlement to indemnification; provided, however, that the payment of such
               expenses incurred in advance of the final disposition of a Proceeding shall be made only upon
               delivery to the Company of a written affirniation by such Indemnified Person of his good faith
               belief that he has met the standard of conduct necessary for indemnification under this Article 5
               and a written undertaking, by or on behalf of such Indemnified Person, to repay all amounts so
               advanced if it shall ultimately be determined that such Indemnified Person is not entitled to be
               indemnified under this Article 5 or otherwise.

           5.5 Nonexdusivity of Rights. The right to indemnification and the advancement and payment of
               expenses con fetTed by this Article 5 shall not be exclusive of any other right whkh a Person may
               have or hereafter acquire under any law (common or statutory), provision of the Articles of
               Organization or Operating Agreement, agreements, vote of members or otherwise.

           5.6 Savings Clause. If Paragraph 5.2 or any portion thereof shall be invalidated on any ground by
               any court of competent jurisdiction, then the Company shall nevertheless indemnify and hold
               harmless each Indemnified Person as to costs, charges and expenses (including attorneys' fees),
               judgments, fines and amounts paid in settlement with respect to any action, suit or proceeding,
               whether civil, criminal, administrative or investigative to the full extent permitted by any
               applicable portion of this Article 5 that shall not have been invalidated and to the fullest extent
               permitted by applicable law.

           5.7 Tax Matters Member (Tax Matters Partner). The Company designates Hugh Dunkerly as Tax
               Matters Member (Tax Matters Partner), as defined in Code section 623 l(a)(7) [26 U.S.C.A. §
               623l(a)(7)J, to represent the Company, at the Company's expense, in all examinations of the
               Company's affairs by taxing authorities, to expend Company monies to obtain necessary
               professional services in connection with such examinations, make necessary arrangements to file
               and pay all state and federal tax returns on behalf of the Company.

                              ARTICLE VI CONTRIBUTIONS TO THE COMPAl'\Y

           6.1 Member's Initial Capital Contributions. The Member agrees to contribute One Hundred
               Dollars ($100.00) as his Initial Capital Contribution to the Company.

           6.2 Subsequent Contributions. The Member shall not be obligated to make any Capital
               Contributions to the Company other than those set forth in Paragraph 6.1.

           6.3 Loans by Members. The Member may, but is not obligated to, loan to the Company such sums
               as the Member determines to be appropriate for the conduct of the Company's business. Any such
               loans shall bear interest at one percent (1 %) above the prime rate of interest charged from time to
               time by the Federal Reserve Bank of San Francisco and shall be on such other terms as the
               Member may agree.

                             ARTICLE VII ALLOCA TIO~S AND DISTRIBUTIONS




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           7.1 Allocations of Profits and Losses. All of the Net Profits and Net Losses of the Company for
               each Fiscal Year shall be allocated to the Member.

           7.2 Distributions of Cash Flow. Cash Flow shall be distributed to the Member at such time or times
               as the Member shall dete1mine in his sole discretion.

           7.3 Limitation upon Distributions.

              (a)       No distribution or return of capital contributions may be made and paid if, after the
                        distribution or return of a capital contribution, either:

                    (1) the Company would be insolvent; or

                    (2) the net assets of the Company would be less than zero.

              (b)       The Member may base a determination that a distribution or return of a capital
                        contribution may be made under Paragraph 7.3(a) in good faith reliance upon a balance
                        sheet and profit and loss statement of the Company represented to be correct by the
                        person having charge of its books of account or certified by an independent public or
                        certified public accountant or firm of accountants to fairly reflect the financial condition
                        of the Company.

                               ARTICLE VIII DISSOLUTION AND TERMINATION

           8.1 Dissolution.

              (a)       The Company sha11 be dissolved upon the occurrence of any of the following events:

                    (1) TI1e entry of a decree of judicial dissolution under the Act;

                    (2) the expiration of the te1m fixed pursuant to Paragraph 2.5 hereof;

                    (3) by the written agreement of the Member; or

                    (4) upon the death, retirement, resignation, court declaration of incompetence, bankruptcy or
                        dissolution of the Member or the occurrence of any other event which terminates the
                        continued membership of the Member.

              (b)       If a Member who is an individual dies or a court of competent jurisdiction adjudges him
                        to be incompetent to manage his person or his property, the Member's Representative
                        may exercise all of the Member's rights for the purpose of settling his estate or
                        administering his property.

           8.2 Winding Up, Liquidation and Distribution of Assets.

              (a)       If the Company is dissolved and its affairs are to be wound up, the Member (or his




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                         Representative) is directed to:

                     (1) sell or otherwise liquidate such of the Company's assets as may be required to discharge
                         all liabilities of the Company, including any liabilities to the Member and establish such
                         Reserves as may be reasonably necessary to provide for contingent liabilities of the
                         Company; and

                     (2) distribute the remaining assets to the Member, such distribution to be made either in cash
                         or in kind, as determined by the Member (or his Representative).

               (b)       Upon completion of the winding up, liquidation and distribution of the assets, the
                         Company shall be deemed tern1inated.

           8.3 Articles of Dissolution. When all debts, liabilities and obligations of the Company have been
               paid and discharged or adequate provisions have been made therefore and all of the remaining
               property and assets of the Company have been distributed, articles of dissolution, as required by
               the Act, shall be executed and filed with the Delaware Secretary of State.

           8.4 Effect of Filing of Articles of Dissolution. Upon the filing of articles of dissolution with the
               Delaware Secretary of State, the existence of the Company shall cease, except for the purpose of
               suits, other proceedings and appropriate action as provided in the Act The Member (or his
               Representative) shall have authority to distribute any Company property discovered after
               dissolution, convey real estate and take such other action as may be necessary on behalf of and in
               the name of the Company.

                                   ARTICLE IX MISCELLANEOUS PROVISIONS

           9.l Choice of Law. 111is Operating Agreement, and its interpretation, shall be governed exclusively
               by its terms and by the laws of the State of Delaware (other than its conflicts of laws rules) and
               specifically the Act.

           9.2 Amendments. This Operating Agreement may not be amended except in writing signed by the
               Member.

           9.3 Headings. The headings in this Operating Agreement are inserted for convenience only and are
               in no way intended to describe, interpret, define, or limit the scope, extent or intent of this
               Operating Agreement or any provision hereof.

           9.4 Severability. If any provision of this Operating Agreement or the application thereof to any
               Person or circumstance shall be invalid, illegal or unenforceable to any extent, the remainder of
               this Operating Agreement and the application thereof shall not be affected and shall be
               enforceable to the fullest extent permitted by law.

           9.5 Heirs, Successors and Assigns. Each and all of the covenants, terms, provisions and agreements
               herein contained shall be binding upon and inure to the benefit of the parties hereto and their
               respective heirs, legal representatives, successors and assigns.




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            9.6 Creditors. None of the provisions of this Operating Agreement shall be for the benefit of or
                enforceable by any creditors of the Company or of the Member.

                                                    ARTICLEX
                                                 INDEMNIFCIATION

        10.1 Indemnity of the Manager.

        (a) Subject to the limitations and conditions provided in this Section, each Person ("Indemnified Person")
        who was or is made a party or is threatened to be made a party to or is involved in any threatened,
        pending or completed action, suit or proceeding, whether civil, criminal, administrative, arbitrative or
        investigative ("Proceeding"), or any appeal in such a Proceeding or any inqui1y or investigation that could
        lead to such a Proceeding, by reason of the fact that he, or a Person of whom he is the legal
        representative, is or was a Manager of the Company or is or was serving as a manager, director, officer,
        partner, venturer, proprietor, trustee, employee, agent or similar functionaty of another entity that is or
        was a Manager shall be indemnified by the Company against judgments, penalties (including excise and
        similar taxes and punitive damages), fines, settlements and reasonable costs and expenses (including,
        without limitation, attorney's fees) actualJy incmTed by such Indemnified Person in connection with such
        Proceeding if such Indemnified Person acted in good faith and in a manner he reasonably believed to be
        in, or not opposed to, the best interest of the Company and, with respect to any criminal action or
        proceeding, had no reasonable cause to believe his conduct was unlawful. The termination of any action,
        suit or proceeding by judgment, order, settlement, conviction, or upon a plea of no lo contendere or its
        equivalent, shall not, of itself, create a presumption that the Indemnified Person did not act in good faith
        and in a manner which he reasonably believed to be in or not opposed to the best interests of the
        Company or, with respect to any criminal action or proceeding, that the Indemnified Person had
        reasonable cause to believe that his conduct was unlawful.

        (b) To the extent that an Indcmn:ificd Person has been successful, on the merits or otherwise, in the
        defense of any action, suit or proceeding referred to in (a) above, or in defense of any claim, issue or
        matter therein, he will be indemnified against expenses (including attorney's fees) actually and reasonably
        incurred in connection therewith.

        (c) Any indemnification under this Section (unless ordered by a court) shall be made by the Company
        only as authorized in the specific case, upon a determination that indemnification is proper in the
        circumstances because he has met the applicable standard of conduct set forth therein. Such determination
        shall be made by the holders of a majority of the Percentage Interests held by Members who were not
        parties to or subjects of such threatened or actual Proceeding. If there are no disinterested Members, then
        the determination shall be made by the Company's independent legal counsel, whose fees must be paid by
        the Company.

        (d) Indemnification under this Section shall continue as to an Indemnified Person who has ceased to serve
        in the capacity which initially entitled such Indemn:ified Person to indemnity hereunder. The rights
        granted pursuant to this Section shall be deemed contract rights, and no amendment, modification or
        repeal of this Section shall have the effect of limiting or denying any such rights with respect to actions
        taken or Proceedings arising prior to any such amendment, modification or repeal.




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        (e) The right to indemnification conferred by this Section shall include the right to be paid or reimbursed
        by the Company for the reasonable expenses incurred in advance of the final disposition of the
        Proceeding and without any determination as to the Indemnified Person's ultimate entitlement to
        indemnification; provided, however, that the payment of such expenses incurred in advance of the final
        disposition of a Proceeding shall be made only upon delivery to the Company of a written affirmation by
        such Indemnified Person of his good faith belief that he has met the standard of conduct necessary for
        indemnification under this Section and a written undertaking, by or on behalf of such Indemnified Person,
        to repay all amounts so advanced if it shall ultimately be detennined that such indemnified Person is not
        entitled to be indemnified under this Section or otherwise.

            IN WITNESS WHEREOF, the Company and the Member have executed this Operating Agreement
            on the date first written above.

        MEMBER:

        BOE CAPITAL LLC



        By: Bevan Cooney
        Its: Attorney in Fact


        COMPANY:

        RSTP CAPITAL LLC



        By: Hugh Dunkerley
        Its: Manager




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                                            RSTP Capital LLC
                                   c/o The Corporation Trust Company
                                           1209 Orange Street
                                         Wilmington DE 19801




           February 11, 2014


           To Whom It May Concern:

           Please allow this letter to serve as confirmation for your records that RSTP Capital
           LLC does not conduct business in the state of California.

           Please do not hesitate to contact me should you have any further questions or
           concerns.

           Best Regards,

           RSTP Capital LLC


           Hugh Dunkerley
           Manager




CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                      8C003999
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                                               RSTP Capital LLC
                                                (The "Company")
                                                    Delaware

                                      Certified Resolution of the Company




           I, Hugh Dunkerley, being the Manager of the Company, do hereby certify that at a
           meeting of the board of managers of the Company, held on Febmary a, 2014, it was:

           RESOLVED THAT, the person named below as signatory of the Company (the
           "Signatory"), is hereby authorized in the name and on behalf of the Company to open bank
           accounts at such banks as the Signatory chooses (the "Banks"), and to take all actions and
           sign all documents needed to open and maintain accounts with the Banks, and to deposit,
           withdraw, and/or transfer funds on deposit from the Banks. Any action taken by the
           Signatory with respect to any of the matters stated above is hereby ratified and confirmed;
           and further

           RESOLVED THAT, the Signatory of the Company shall be:

                                                  Hugh Dunkerley

           RESOLVED THAT, these Resolutions, insofar as the Banks are concerned, shall continue
           in full force and effect until the Bank receives written notice from the Company of the
           changes, if any, therein.

           Effective as of this February L 2014



           Hugh Dunkerley
           President and Director




CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                            8C004000
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                      Full Legal Name of Subscriber:              HSDC Capital Fund, LLC
                      Contact Person:                             Karl K. Fooks
                      Address:                                    P.O. Box 2359
                      City, State and Zip:                        Honolulu, HI 96804
                      Email Address:                              karl.fooks@dbedt.hawaii.gov
                      Telephone Number:                           (808) 587-3830
                      Fax Number:                                 NIA
                      Subscriber's State/Nation of Domicile
                      (for individuals) or Principal Place of
                      Business (for entities):                    Hawaii
                      Social Security or
                      Tax Identification Number:                  XX-XXXXXXX
                      Subscription Amount:                        US$5,000,000




                                         SUBSCRIPTION AGREEMENT
                                                         for
                                    LIMITED PARTNERSIUP INTERESTS
                                                          in
                                             MBLOOM FUND I, L.P.,
                                           a Hawaii Limited Partnership



         NEITHER THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE
         REGULATORY AUTHORlTY NOR THE REGULATORY AUTHORITY OF ANY OTHER COUNTRY HAS
         APPROVED OR DISAPPROVED THIS SUBSCRIPTION AGREEMENT OR THE LIMITED PARTNERSHIP
         INTERESTS ("PARTNERSHIP INTERESTS'') PROVIDED FOR HEREIN. ANY REPRESENTATION TO THE
         CONTRARY IS UNLAWFUL.

         THE PARTNERSHIP INTERESTS HAVE NOT BEEN REGISTERED UNDER THE UNITED STATES
         SECURITIES ACT OF 1933, AS AMENDED (THE "SECURITIES ACT''), NOR UNDER THE SECURITIES
         LAWS OF ANY OTHER COUNTRY, AND THE COMPANY IS UNDER NO OBLIGATION TO REGISTER
         THE PARTNERSHIP INTERESTS UNDER THE SECURITIES ACT OR ANY SUCH OTHER LAWS IN THE
         FUTURE.

         A PARTNERSHIP INTEREST MAY NOT BE SOLD, PLEDGED, HYPOTHECATED OR OTHERWISE
         TRANSFERRED IN THE ABSENCE OF AN EFFECTIVE REGISTRATION UNDER THE SECURITIES ACT
         OR AN OPINION OF COUNSEL SATISFACTORY TO THE PARTNERSHIP'S GENERAL PARTNER THAT
         SUCH REGISTRATION IS NOT REQUIRED. HEDGING TRANSACTIONS INVOLVING A PARTNERSHIP
         INTEREST MAY NOT BE CONDUCTED UNLESS IN COMPLIANCE WITH THE SECURITIES ACT.
         ADDITIONAL RESTRICTIONS ON THE TRANSFER OF PARTNERSHIP INTERESTS ARE CONTAINED IN
         THE PARTNERSHIP'S LIMITED PARTNERSHIP AGREEMENT.

         BASED UPON THE FOREGOING, EACH ACQUIROR OF A PARTNERSHIP INTEREST MUST BE
         PREPARED TO BEAR THE ECONOMIC RISK OF INVESTMENT THEREIN FOR AN INDEFINITE PERIOD
         OF TIME. SUBSCRIBERS ARE ENCOURAGED TO SEEK INDEPENDENT LEGAL, ACCOUNTING,
         INVESTMENT AND TAX ADVICE REGARDING THEIR INDIVIDUAL CIRCUMSTANCES AND
         FINANCIAL OBJECTIVES IN DETERMINING WHETHER TO SUBSCRIBE FOR A PARTNERSHIP
         INTEREST IN THE PARTNERSHIP.


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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                               8C004001
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                                                      MBI,OOM FUND I, L.P.,
                                                     a Hawaii Limited Partnership


                                                SUBSCRIPTION AGREEMENT


        TO:         mbloom Ventures, LLC
                    77 Ho' okele Street, Unit 10 l
                    Kahului, HI 96732

        Ladies and Gentlemen:

                You have informed the undersigned ("Subscriber") that mbloom Fund I, L.P., a Hawaii limited
        partnership (the "Partnership"), has been formed pursuant to the Hawaii Uniform Limited Partnership
        Act, as amended (the "Acf'); that the General Partner of the Partnership is mbloom Ventures, LLC, a
        Hawaii limited liability company (the "General Partner"); and that the Partnership will be governed by,
        and operated in accordance with, its Limited Partnership Agreement which, as of the time of Subscriber's
        adrnission into the Partnership, will be identical in all material respects to the fonn of such Limited
        Partnership AgTeement (including any amendments) made available to Subscriber prior to Subscriber's
        execution of this Subscription Agreement (such Limited Partnership Agreement, the "Partnership
        Agreement"). Capitalized terms not defined herein are defined in the Partnership Agreement. All
        references to section numbers are to this Subscription Agreement unless otherwise indicated.

                1.      Subscription. Subject to the terms and conditions of this Subscription Agreement,
        Subscriber hereby subscribes (the "Subscription") for a Partnership Interest in the Partnership (the
        "Partnership Interest").



                        (a)     The General Partner, acting on behalf of the Partnership, may accept or reject the
        Subscription in the General Partner's sole and absolute discretion. If the Subscription is accepted, the
        General Partner will cause Subscriber to be admitted into the Partnership as a Limited Partner and execute
        the Partnership Agreement as Subscriber's attorney-in-fact pursuant to Section 13(a). In connection with
        such acceptance and admission, the General Partner (acting in its sole and absolute discretion) will
        determine the amount of Subscriber's Capital Commitment; provided, however, that such amount will not
        in any event exceed the amount set forth below as the "Subscription Amount."

                          (b)     Subscriber hereby ratifies, adopts and accepts the Partnership Agreement. If
        Subscriber is admitted as a Limited Partner pursuant to Section 2(a), Subscriber will be bound by the
        Partnership Agreement and will duly satisfy all of Subscriber's obligations arising thereunder. Without
        limitation on the preceding sentence, in the event Subscriber fails to make payments in respect of its
        Capital Commitment when due, Subscriber will be subject to strict enforcement of the default provisions
        set forth in the Partnership Agreement.

                           (c)     If Subscriber deposits funds with the Partnership's legal counsel or an escrow
         agent in anticipation of Subscriber's initial capital contribution (if required under the Partnership
         Agreement), and Subscriber is admitted into the Partnership as a Limited Partner, any interest that accrues
         on such funds will be paid over to the Partnership and treated as a capital contribution to the Partnership
         in respect of Subscriber's Capital Commitment. If Subscriber is not admitted into the Partnership, such
         interest will be paid over to Subscriber.



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                 8C004002
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               3.      Closing. Subject to Section 10, Subscriber's admission into the Partnership in
        accordance with the terms of this Subscription Agreement (the "l.1osing") will occur at such time (the
        "Closing Time") and place as is determined by the General Partner.

                4.       Representations as to Investor Status. Subscriber has carefully reviewed, completed and
        signed, or caused its authorized representative to sign, R-chibit A attached hereto and makes each of the
        representations set forth therein and such representations are true and correct in all respects.

                5.      Qthe:rRepresentations and Warranties of Subscriber. Subscriber hereby represents and
        warrants to the General Partner and the Partnership as follows:

                         (a)     Subscriber is acquiring the Partnership Interest for Subscriber's own account for
        investment, with no intention of distributing or reselling any portion thereof within the meaning of the
        Securities Act of 1933, as amended (the "Securities Act"), and will not transfer the Partnership Interest in
        violation of the Securities Act or the then applicable rules or regulations thereunder or any other
        applicable law. No one other than Subscriber has any interest in or any right to acquire any portion of the
        Partnership Interest or any interest in the Subscription. Subscriber hereby confim1s and makes all of the
        representations and warranties of a Limited Partner set forth in the Partnership Agreement. Subscriber
        understands and acknowledges that the Partnership will have no obligation to recognize the ownership,
        beneficial or otherwise, of the Partnership Interest by anyone other than Subscriber, except as provided in
        the Partnership A&rreement.

                        (b)      Subsc1iber is able to bear the financial and other risks of holding the Partnership
        Interest for an indefinite period of time and the risk of loss of Subscriber's entire investment in the
        Partnership. Subscriber has such knowledge and experience in financial and business matters that
        Subscriber is capable of evaluating the merits and risks of acquiring the Partnership Interest and of
        making an infonned investment decision with respect thereto.

                         (c)     Subscriber has reviewed and understands the confidential offering materials
        prepared by the Partnership related to this Subscription (the "Offering .Materials"), the Partnership
        Agreement, and this Subscription Agreement. For purposes of the preceding sentence, the Offering
        Materials and the Partnership A&rreement means the most recent versions of such documents that were
        made available to Subscriber through the time immediately prior to the execution of this Subscription
        Agreement. In addition, Subscriber acknowledges that: (i) there may be material differences between the
        descriptions of Partnership terms and conditions in the Offering Materials and the actual terms and
        conditions set forth in the Partnership Agreement; (ii) Subscriber has reviewed Schedule 5(c) annexed
        hereto which has been prepared by the Partnership and sets forth in reasonable detail the material
        differences (if any) between the Offering Materials presented and the final Partnership Agreement; and
        (iii) in the event of such differences, the tenns and conditions of the Pa.rtnership Agreement will
        supersede any contrary information set forth in the Offoring Materials.

                        (d)      Subscriber acknowledges and agrees that, except as set forth in the Partnership
        Agreement, the Offering Materials, this Subscription Aweement, or an additional written document
        (executed by a member or officer of the General Partner) which clearly and explicitly indicates that
        Subscriber is entitled to rely thereon, Subscriber has neither received, nor is entitled to rely upon, any
        representations or wananties from the Partnership, the General Partner, or any partner, member, officer,
        employee, attorney, or agent thereof. Subject to the preceding sentence: (i) the General Partner and its
        members or officers have made available all additional information which Subscriber has requested in
        connection with the transactions contemplated by the Partnership Agreement, the Offering Materials and
        this Subscription Agreement; (ii) Subscriber has been provided the opportunity to ask questions of and
        receive answers from the General Partner and its members or officers concerning the terms and conditions



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                          BC004003
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        of the Partnership Agreement and this Subscription Agreement and the purchase of the Partnership
        Interest; and (iii) Subscriber has been provided the opportunity to obtain any additional information (to
        the extent the General Partner had such information or could acquire it without unreasonable effort or
        expense) necessary to verify the accuracy of infonnation otherwise furnished by the General Partner, its
        members or its officers. Subscriber has investigated the acquisition of the Partnership Interest to the
        extent Subscriber deemed necessary or desirable and the General Partner has provided Subscriber with
        any assistance Subscriber has requested in connection therewith.

                          (e)      Subscriber is aware that Subscriber's rights and ability to transfer the Partnership
        Interest are restricted by the Securities Act, applicable state securities laws, the laws of other jurisdictions,
        the Partnership Agreement and the absence of a market for the Partnership Interests. Subscriber further
        understands that: (i) the Partnership does not intend, and is not required, to register the Partnership
        Interests under the Securities Act; and (ii) except as provided in the Partnership Agreement, Subscriber
        will have no right to withdraw from the Partnership or to receive distributions in liquidation of its
        Partnership Interest.

                        (f)      Subscriber understands that Subscriber's Partnership Interest will not be
        evidenced by a certificate subject to Article 8 of the Uniform Commercial Code.

                          (g)     Subscriber understands that the Offering Materials, the Partnership Agreement
        and this Subscription Agreement do not purport to satisfy the "prospectus" requirements that would apply
        to the issuance of the Partnership Interest if the offering of the Partnership Interest were a "public
        offering" within the meaning of the Securities Act. Subscriber is not acquiring the Partnership Interest as
        a result of, or in reliance on, any advertisement, article, notice or other communication published in any
        newspaper, magazine or similar media or broadcast over television or radio or any other general
        solicitation regarding the offering of Partnership Interests conducted by the General Partner or any of its
        partners, members, officers, employees or agents.

                         (h)      Subscriber has full power and authority or full capacity, as applicable, to execute,
        deliver and satisfy its obligations under the Partnership Agreement and this Subscription Agreement, and
        such actions will not cause Subscriber to be in breach or violation of any contractual, legal or regulatory
        duty or obligation.

                        (i)      Subscriber understands that no governmental agency has made any finding or
        determination as to the fairness of the terms of the offering and sale of the Partnership Interest or of the
        Partnership Agreement.

                        (j)      Subscriber is not relying on the Partnership, the General Partner or any of their
        partners, members, officers, employees, attorneys, agents or representatives for legal, accounting,
        investment or tax advice, and Subscriber has sought independent legal, accounting, investment and tax
        advice to the extent Subscriber has deemed necessary or appropriate in connection with Subscriber's
        decision to subscribe for the Partnership Interest.

                       (k)      To the best of Subscriber's knowledge, the money to be contributed in respect of
        Subscriber's Capital Commitment is not related to, or derived from, any activities that would be illegal
        under United States law or the laws of any individual state.

                6.      Representations and Warranties of the Partnershi_Q. Upon the General Partner's execution
        of the Partnership Agreement on behalf of Subscriber, the Partnership will be deemed to make the
        following representations and warranties. As of the Closing Time:




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                          (a)   The Partnership is validly existing and in good standing as a limited partnership
        under the laws of the State of Hawaii, and has all requisite power and authority to carry on its business as
        described in the Offering Materials. The General Partner is validly existing and in good standing as a
        limited liability company under the laws of the State of Hawaii. The General Partner has all requisite
        power and authority to act as the General Partner of the Partnership.

                         (b)     The Partnership has foll power and authority to execute, deliver and satisfy its
        obligations under this Subscription Agreement, and such actions will not cause the Partnership to be in
        breach or violation of any material contractual, legal or regulatory duty or obligation. The General
        Partner has full power and authority to execute, deliver and satisfy its obligations llnder the Partnership
        Agreement, and such actions will not cause the General Prutner to be in breach or violation of any
        material contractual, legal or regulatory duty or obligation.

                        (c)      Neither the Partnership nor anyone acting on its behalf has knowingly taken or
        will take any action that would subject the issuance and sale of the Partnership Interest to the registration
        requirements of the Securities Act.

                      (d)    The Partnership is not required to register as an "investment company" under the
        Investment Company Act.

                        (e)      There is no action, proceeding or investigation pending or, to the knowledge of
        the General Partner or the Partnership, threatened against the General Partner or the Partnership.

                         (t)     AH of the disclosures included in the Offering Materials furnished by or on
        behalf of the Partnership to the Subscriber regarding the Partnership and the transactions contemplated
        hereby, are true and correct and do not contain any untrue statement of a material fact or omit to state any
        material fact necessary in order to make the statements made therein, in light of the circumstances under
        which they were made, not misleading. The Partnership acknowledges and agrees that the Subscriber
        does not make and has not made any representations or warranties with respect to his or its investment in
        the Partnership or any other transaction contemplated hereby other than those specifically set forth in
        Section 5 hereof.

                         (g)      Assuming the accuracy of the Subscriber's representations and warranties set
        forth in Section 5, neither the Partnership, nor any of its Affiliates, nor any Person acting on its or their
        behalf has, directly or indirectly, made any offers or sales of any security or solicited any offers to buy
        any security, under circumstances that would cause this offering of the Partnership Interests to be
        integrated with prior offerings by the Partnership for purposes of the Securities Act which would require
        the registration of any such securities under the Securities Act.

                    7.   Accuracy of Information.

                          (a)     Subscriber hereby undertakes that the representations and warranties made by
         Subscriber and the info1mation provided by Subscriber in this Subscription Agreement are true and
         accurate as of the date of this Subscription Agreement and, except as may be set forth in a written notice
         (which describes any discrepancy in reasonable detail) actually received by the General Partner (via the
         means and at the address set forth therefor in Section 12(b)) prior to the Closing, will be true and accurate
         at all times through the Closing Time. Without limiting the duties of Subscriber under the foregoing
         provisions of this Section 7 or otherwise limiting the rights of the General Partner and the Partnership: (i)
         Subscriber will immediately notify the General Partner in writing in the event that, at any time prior to the
         Closing Time, any representation, warranty or other information described in this Section 7 fails to be
         true and accurate; and (ii) if the General Partner receives from Subscriber within seven days after the



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        Closing Time any notice described in this Section 7, the General Partner may, in its sole and absolute
        discretion, rescind Subscriber's admission into the Partnership.

                          (b)    The Partnership hereby undertakes that the representations and warranties made
        by the Pa11nership and the infonnation provided by the Partnership in this Subscription Afo,>reement are
        true and accurate as of the date of this Subscription Agreement and, except as may be set forth in a
        written notice (which describes any discrepancy in reasonable detail) actually received by the Subscriber
        via the means and at the Subscriber's address set fo11h herein prior to the Closing, will be true and
        accurate at all times through the Closing Time. Without limiting the duties of the Partnership under the
        foregoing provisions of th.is Section 7(b) or otherwise limiting the rights of the Subscriber, (i) the
        Partnership will immediately notify the Subscriber in writing in the event that, at any time prior to the
        Closing Time, any representation, warranty or other information described in this Section 7(b) fails to be
        hue and accurate; and (ii) if the Subscriber receives from the Partnership within seven days after the
        Closing Time any notice described in this Section 7(h), the Subscriber may rescind its investment in the
        Partnership and receive a full refund of 100% of such Subscriber's Capital Contribution and Subscription
        Amount investment in the Partnership, without interest or deduction.

                  8.     ID4~mgifif£tion. Each of the Partnership and the Subscriber acknowledges that the other
        party will rely upon the representations, warranties and other information as set forth in this Subscription
        Agreement, as well as .in any notices provided under Section 7, in determining whether Subscriber should
        invest in the Partnership or be admitted into the Partnership. Accordingly, each of the Subscriber, on one
        hand, and the Partnership, on the other hand (as applicable, an "Indemnifying Party"), agrees to and will
        indemnify and hold ham11ess the other party, the General Partner (if applicable) and each partner,
        member, officer, employee, attorney, agent and other Affiliate of each of them (as applicable, each an
        "Indemnified Party"), to the extent permitted by law, from and against any and all loss, damage or
        liability due to or arising out of a breach of any representation or warranty of an Indemnifying Party or
        any other inaccuracy of an Indemnifying Party contained in this Subscription Agreement or any notice of
        an Indemnifying Party provided under Section 7. Notwithstanding any provision of the Partnership
        Agreement to the contrary, all representations, warranties and covenants contained in this Subscription
        Agreement will survive the execution and delivery of this Subscription Agreement and the admission of
        Subscriber as a Limited Partner into the Partnership.

              9.       Transferability.     The rights and obligations of Subscriber under this Subscription
        Agreement are not transferable.

                 10.     No Revocation. The Subscription may be revoked solely by means of a written notice of
        revocation executed by Subscriber and actually received by the General Partner via the means and at the
        address set forth therefor in Section 12. Such notice of revocation will become effective at the latest to
        occur of: (a) the 3011i day follO\ving the date of such actual receipt by the General Partner; and (b) any later
        effective date specified in such notice. Notwithstanding the foregoing, the Subscription will not in any
        event be revoked if it has been accepted, in whole or in part, by the General Partner prior to the
        effectiveness of such notice.

                  11.      T~nnirr;:ition of Agreement. If the Subscription is revoked pursuant to Section 10 or
        re:jected in full by the General Partner, this Subscription Agreement will thereafter be deemed terminated
        and without further force or effect.

                 12.     Notices. Consents. Elections. Etc.     All notices, consents, agreements, elections,
         acceptances, amendments, and approvals provided for or permitted by this Subscription Agreement will
         be in writing. Without limitation on the preceding sentence, acceptance of the Subscription will occur
         only pursuant to a written document executed by the General Partner. For purposes of the following



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                          BC004006
                                                                                                     SEC-SONY_EPROD~000005085
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        prov1s1ons of this Section 12, the term "notice" will be deemed to include any notice, statement,
        document, report, consent or similar item required or permitted to be provided to one or more Persons
        under this Subscription Agreement or applicable law.

                         (a)     Notice to Subscriber. Except as otherwise specifically provided in this
        Subscription Agreement, notice to Subscriber will be deemed duly given upon the earliest to occur of the
        following: (i) personal delivery to Subscriber at the address set forth below, or at any other address which
        Subscriber has provided to the General Partner for purposes of this Section l2(a); (ii) the Close of
        Business on the second day after being deposited in the United States mail, registered or certified, postage
        prepaid and addressed to Subscriber at the address set forth below, or at any other address which
        Subscriber has provided to the General Partner for purposes of this Section 12(a); (iii) the Close of
        Business on the first business day after being deposited in the United States with a nationally recognized
        overnight delivery service, with delivery charges prepaid, addressed as provided in the preceding clause,
        and marked for next business day delivery; (iv) at the time of transmission by electronic mail; or (v) at the
        time of transmission by facsimile, transmitted to Subscriber at its facsimile number specified herein, with
        confirmation of receipt made by printed confirmation sheet verifying successful transmission of the
        facsimile.

                         (b)    Notice to the General Partner. Except as otherwise specifically provided in this
        Subscription Agreeme.nt, notice to the General Partner will be deemed duly given when clearly identified
        as such and duly given to the General Partner in accordance with the procedures set forth in Section
        12(a). For purposes of the preceding sentence, the General Partner's address initially will be 77 Ho'okele
        Street, Unit 101, Kahului, Hawaii 96732 (fax: 808-298-0450).

                   13.   Power of Attorney.

                         (a)     Subscriber hereby grants to the General Partner a special power of attorney,
        making, constituting and appointing the General Partner as Subscriber's attorney-in-fact, with full power
        and authority to act in Subscriber's name and on Subscriber's behalf to execute, acknowledge and swear
        to the execution, acknowledgment and filing of the Certificate of Limited Partnership and the Partnership
        Agreement as well as any other documents as are necessary to create, operate, dissolve or liquidate the
        Partnership in accordance with the terms of the Partnership Agreement and this Subscription Agreement.
        In the event of conflict between the Partnership Agreement and any other document executed,
        acknowledged or filed pursuant to this power of attorney, the Partnership Agreement will control.

                           (b)     This special power of attorney is a special power of attorney coupled with an
        interest, is irrevocable, and will survive the death or legal incapacity of Subscriber.

                 14.     M!1?.Q~ll.?.:!1~@_fi. Subscriber will pay Subscriber's own expenses relating to this
        Subscription Agreement and the transactions contemplated hereby. Neither this Subscription Agreement
        nor any term hereof may be changed, waived, discharged or terminated except with the written consent of
        Subscriber and the Partnership. This Subscription Agreement may be executed in any number of
        counterparts, each of which will be an original but all of which taken together will constitute one
        agreement. Electronically transmitted signature pages or facsimile copies of original signature pages will
        be deemed to be, and will be legally effective as, originally signed signature pages for all purposes of this
        Subscription Agreement. This Subscription Agreement and all amendments hereto will be governed by
        and interpreted and enforced in accordance with the laws of the State of Hawaii as such laws are applied
        to agreements entered into and to be perfonned entirely within Hawaii by Hawaii residents, without
        giving effect to principles of conflict of laws or the choice of law rules of any jurisdiction to the extent
        that the application of the laws of any jurisdiction other than the laws of the State of Hawaii would be
        required or pennitted thereby. To the extent permitted by the Act and other applicable law, the provisions



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                           BC004007
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         of this Subscription Agreement will supersede any contrary provisions of the Act or other applicable law.
        In the event any provision of this Subscription Agreement is determined to be invalid or unenforceable,
         such provision will be deemed severed from the remainder of this Subscription Agreement and replaced
         with a valid and enforceable provision as similar in intent as reasonably possible to the provision so
         severed, and will not cause the invalidity or unenforceability of the remaining portion of this Subscription
         Agreement. The headings in this Subscription Agreement are for convenience of reference, and will not
         by themselves determine the meaning of this Subscription Agreement or of any part hereof.


                          (Remainder of this page left blank intentionally; signature pages follow.)




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                           8C004008
                                                                                                   SEC-SDNY_EPROD-000005087
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                                                                                      mbloom Fund I, L.P.

                            CORPORATIONS, PARTNERSHIPS, TRUSTS OR OTHER ENTITIES


          Dated:     December~, 2013               HSDC CAP ITAL FUND LLC
                                                   Entity Name (Full Legal Name)

                                                   Hawaii limited liability company
                                                   Entity Type and Jurisdiction ofFonnation

                                                   By: HA WAH STRATEGIC DEVELOPMENT
                                                       CORPORATION, a public body corporate and
                                                       politic and an instrumentality and agency of the
                                                       State of Hawaii, its Managing Member




                                                       Signature

                                                   Karl K. Fooks. President
                                                   Signing Individual's Printed Name/Title

                                                   (808) 587-3830
                                                   Telephone Number

                                                   karl.fooks@dbedt.hawaii.gov
                                                   Email Address


          US$5 000 000.00                          Business Address:
          Capital Commitment
          (Subscription Amount)                    250 S. Hotel Street #508
                                                   Number and Street

                                                   Honolulu. HI 96813
                                                   City/State/Country/Zip Code


          Approved as to form thisgo~y of          Mailing fcddress (if different):
          December 2013 by:
                                                   P.O. Box 2359
                                                   Number and Street

                                                   Honolulu. HI 96804
                                                   City/State/Country/Zip Code

                                                   XX-XXXXXXX
                                                   Federal Taxpayer I.D. Number of Subscriber




CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                            8C004009
                                                                                             SEC-SDNY_EPROD-000005088
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                                                                                                           mbloom Fund I, L.P.




                              Month:


                              Year:
                              Time:



                    1.                                                   as the General Partner of the "",.""""""'
                                                                               admits Subscriber      the ,_,,,,,.,.,,,,3,.~'"'"'


                    2.        The General Partner's execution of the l-'ci >+m>rclh•
                                                                            1
                                                                                                                   deemed to have
          been           in      as                on behalf of

                    3.      Subscriber's          Commitment into the                                                      to
                  "'""·"""· which amount will be set forth as Subscriber's                                      '""''~~·.. v A to the




                    Executed this



                                                                          a Hawaii




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                                   8C004010
                                                                                                                    SEC-SDNY_EPROD-000005089
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                                            EXHIBIT A

                               ACCREDITED INVESTOR CERTIFICATION

                                          (attached hereto)




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                        8C004011
                                                                         SEC-SDNY_EPROD-000005090
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                                                            MBLOOM FUND l, L.P.
                                              ACCREDITED INVESTOR CERTIFICATION

                  The undersigned (hereinafter, "Subscriber") hereby represents and warrants that Subscriber is an
          "accredited investor" under Section 501(a) of Regulation D promulgated under Section 4(a)(2) of the
          Securities Act of 1933, as amended (the "Acf'), because Subscriber is (initial all applicable sections):


          FOR INDIVIDUALS ONLY:

                          L     I hereby certify that I am an accredited investor because I am an individual whose net
                                worth, or joint net worth with my spouse, exceeds $1,000,000. For purposes of this

            D                   questionnaire, "net worth" means the excess of total assets, 1 . at fair market value, over
                                total liabilities.
            Initial

                          2.     I hereby certify that I am an accredited investor because I am an ind1vidual whose

             D                   individual income2 (i.e., exclusive of any income attributable to my spouse) exceeds
                                 $200,000 in each of the two most recent years, and I reasonably expect to reach the
            Initial            · same income level in the current year.

                          3.    I hereby ceiiify that I am an accredited investor because I am an individual whose joint

             D                  income (i.e., inclusive of any income attributable to my spouse) exceeds $300,000 in
                                each of the two most recent years, and I reasonably expect to reach the same income
                                level in the current year.
            Initial




          EOR CORPORA.TIOJS.S. PARTNERSHIPS OR BUSINESS TRUSTS:


                                I hereby certify that I am an accredited investor because I am a corporation, partnership,
                                or business trust, which has total assets in excess of $5,000,000 and was not formed for
            Initial             the specific purpose of acquiring the subject Partnership Interest.




             1
                Notwithstanding anything to the contrary herein, for purposes of determining "net worth" (I) the primary residence ovmed
           by an individual must be excluded from the net worth calculation, (2) the related amount of indebtedness secured by the primary
           residence up to the fair market value of that residence may also be excluded from the calculation, and (3) indebtedness secured by
           the primary residence in excess of the fair market value of that residence should be considered a liability and dedHcted from the
           Subscriber's net worth.
              2
                 For purposes of this questionnaire, individual income means adjusted gross income, as reported for Federal income tax
           purposes, less any income attributable to a spouse or to property mvned by a spouse, increased by the following amounts (not
           including amounts attributable to a spouse or a spouse's property): (a) the amount of any tax-exempt interest income under
           Section 103 of Lhe Internal Revenue Code of 1986, as amended (the "Code"), received; (b) the amount of losses claimed as a
           limited partner in a limited partnership as reported on Schedule E of Form 1040; (c) any deduction claimed for depletion under
           Section 611, et seq. of the Code; (d) amounts contributed to an Individual Retirement Account (as defined in the Code) or Keogh
           retirement plan; (e) alimony paid; and (f) any elective contributions to a cash or deferred arrangement under Section 40 l (k) of the
           Code.



           291472.2




CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                                                      8C004012
                                                                                                                           SEC-SDNY_EPROD-000005091
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                   5.   I hereby certify that I am an accredited investor because I am an entity where all of its
                        equity owners are accredited investors. Please attach a separate sheet listing all equity

          D             owners and setting forth the bases for the representation that they are accredited
                        investors.
         Initial



        FOR TRUSTS (OTHER THAN BUSINESS TRUSTS):

                   6.   I hereby certify that I am an accredited investor because I have total assets in excess of
                        $5,000,000, was not formed for the specific purpose of acquiring the subject Partnership

          D             Interest and its purchase is directed by a sophisticated person (a "sophisticated person"
                        is one who has such lmowledge and experience in financial and business matters that it
                        is capable of evaluating the merits and risks of the prospective investment).
         Initial

                   7.   I hereby certify that I am an accredited investor because I am (i) a bank as defined in

          D             Section 3(a)(2) of the Act, (ii) acting in its fiduciary capacity as trustee, and
                        (iii) subscribing for the purchase of the securities being offered on behalf of a trust.
         lnitial

                   8.   I hereby certify that I am an accredited investor because I am a revocable trust which

          D             may be amended or revoked at any time by the grantors thereof, and all of the grantors
                        are accredited investors under either (a) Section l above ($1,000,000 net worth)
                        (b) Section 2 above ($200,000 individual income), or (c) Section 3 above ($300,000
         Initial
                        joint income).


        FOR OTHER INSTITUTIONS:


                   9.   I hereby certify that I am an accredited investor because I am a bank, as defined in

          D             Section 3(a)(2) of the Act, or savings and loan association or other institution, as defined
                        in Section 3(a)(5)(A) of the Act.
         Initial

                   10. I hereby certify that I am an accredited investor because I am an insurance company as

          D            defined in Section 2(13) of the Act.

         Initial

                   11. I hereby certify that I am an accredited investor because I am a broker or dealer

          D            registered pursuant to Section 15 of the Securities Exchange Act of 1934.

         Initial

                   12. I hereby certify that I am an accredited investor because I am an investment company

          D            registered under the Investment Partnership Act of 1940 or a business development
                       company as defined in Section 2(a)(48) of said Investment Partnership Act of 1940.
         Initial




        291472.2




CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                 8C004013
                                                                                                  SEC-SDNY_EPROD-000005092
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                      13. l hereby certify that I am an accredited investor because I am a .Small Business

            D             Investment Partnership licensed by the U.S. Small . Business Administration under
                          Section 301(c) or (d) of the Small Business Investment Act of 1958.
           Initial

                      14. I hereby certify that I am an accredited investor because I am a private business
            D              development company as defined in Section 202(a)(22) of the Investment Advisers Act
                           of 1940 (the "Investment Advisers Act").
           Initial




                  IN WITNESS WHEREOF, the undersigned has completed and executed this Accredited Investor
          Certification on the date set forth below, and declares that it is truthful and correct.

          Executed at Honolulu, Hawaii on December
                          (City and State)
                                                          :2D 2013.
                                                     (Dare)




          FOR INDIVIDUALS:



          Signature of Subscriber (Individual)                        Signature of Co-Subscriber (Individual)



          Printed Name of Subscriber                                  Printed Name of Co-Subscriber


          FOR ENTITIES:



          HSDC CAPITAL FUND LLC
          Entity Name (Full Legal Name)

          Hawaii limited .liability company
          Entity Type and Jurisdiction of Formation

          By: Hawaii Strategic Development Corporation
              Its Managing Member


           By:
                 Sign~
                      ffet~              ~

           Karl K. Fooks, President
           Signing Individual's Printed Name/Title




           291472.2




CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                     BC004014
                                                                                                      SEC-SONY_EPROD~000005093
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                       Full Legal Name of Subscriber:              RSTP Capital, LLC
                       Contact Person:                             Devon Archer
                       Address:                                    401 Greenwich St., Suite 300
                       City, State and Zip:                        New York NY 10013
                       Email Address:                              darcher@rosemontcapital.com
                       Telephone Number:                           212-933-9974
                       Fax Number:                                 212-933-9975
                       Subscriber's State/Nation of Domicile
                       (for individuals) or Principal Place of
                       Business (for entities):                    Limited Liability Company of Delaware
                       Social Security or
                       Tax Identification Number:
                       Subscription Amount:                        $5,000,000




                                          SUBSCRIPTION AGREEMENT
                                                          for
                                     LIMITED PARTNERSHIP INTERESTS
                                                           in
                                              MBLOOM FUND I, L.P.,
                                            a Hawaii Limited Partnership



       NEITHER THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE
       REGULATORY AUTHORITY NOR THE REGULATORY AUTHORITY OF ANY OTHER COUNTRY HAS
       APPROVED OR DISAPPROVED THIS SUBSCRIPTION AGREEMENT OR THE LIMITED PARTNERSHIP
       INTERESTS ("PARTNERSHIP INTERESTS'') PROVIDED FOR HEREIN. ANY REPRESENTATION TO THE
       CONTRARY IS UNLAWFUL.

       THE PARTNERSHIP INTERESTS HAVE NOT BEEN REGISTERED UNDER THE UNITED STATES
       SECURITIES ACT OF 1933, AS AMENDED (THE "SECURITIES ACT'), NOR UNDER THE SECURITIES
       LAWS OF ANY OTHER COUNTRY, AND THE COMPANY IS UNDER NO OBLIGATION TO REGISTER
       THE PARTNERSHIP INTERESTS UNDER THE SECURITIES ACT OR ANY SUCH OTHER LAWS IN THE
       FUTURE.

       A PARTNERSHIP INTEREST MAY NOT BE SOLD, PLEDGED, HYPOTHECATED OR OTHERWISE
       TRANSFERRED IN THE ABSENCE OF AN EFFECTIVE REGISTRATION UNDER THE SECURITIES ACT
       OR AN OPINION OF COUNSEL SATISFACTORY TO THE PARTNERSHIP'S GENERAL PARTNER THAT
       SUCH REGISTRATION IS NOT REQUIRED. HEDGING TRANSACTIONS INVOLVING A PARTNERSHIP
       INTEREST MAY NOT BE CONDUCTED UNLESS IN COMPLIANCE WITH THE SECURITIES ACT.
       ADDITIONAL RESTRICTIONS ON THE TRANSFER OF PARTNERSHIP INTERESTS ARE CONTAINED IN
       THE PARTNERSHIP'S LIMITED PARTNERSHIP AGREEMENT.

       BASED UPON THE FOREGOING, EACH ACQUIROR OF A PARTNERSHIP INTEREST MUST BE
       PREPARED TO BEAR THE ECONOMIC RISK OF INVESTMENT THEREIN FOR AN INDEFINITE PERIOD
       OF TIME. SUBSCRIBERS ARE ENCOURAGED TO SEEK INDEPENDENT LEGAL, ACCOUNTING,
       INVESTMENT AND TAX ADVICE REGARDING THEIR INDIVIDUAL CIRCUMSTANCES AND
       FINANCIAL OBJECTIVES IN DETERMINING WHETHER TO SUBSCRIBE FOR A PARTNERSHIP
       INTEREST IN THE PARTNERSHIP.


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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                           8C004015
                                                                                            SEC-SDNY_EPROD-000005094
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                                                   MBLOOM .FUND I, L.P.,
                                                  a Hawaii Limited Partnership


                                             SUBSCRIPTION AGREEMENT


        TO:        mbloom Ventures, LLC
                   77 Ho'okele Street, Unit 101
                   Kahului, HJ 96732

        Ladies and Gentlemen:

                You have informed the undersigned ("Subscriber") that mbloom Fund I, L.P., a Hawaii limited
        partnership (the "Partnership"), has been formed pursuant to the Hawaii Uniform Limited Partnership
        Act, as amended (the "Acf'); that the General Partner of the Partnership is mbloom Ventures, LLC, a
        Hawaii limited liability company (the "General Partner"); and that the Partnership will be governed by,
        and operated in accordance with, its Limited Partnership Agreement which, as of the time of Subscriber's
        admission into the Pattnership, will be identical in all material respects to the form of such Limited
        Partnership Agreement (including any amendments) made available to Subscriber prior to Subscriber's
        execution of this Subscription Agreement (such Limited Partnership Agreement, the "Partnership
        Agreement"). Capitalized terms not defined herein are defined in the Partnership Agreement. All
        references to section numbers are to this Subscription Agreement unless otherwise indicated.

                 1.     Subscription. Subject to the terms and conditions of this Subscription Agreement,
         Subscriber hereby subscribes (the "Subscription") for a Partnership Interest in the Partnership (the
        "Partnership Interest").

                   2.     Acceptance of Subscription; _Q):)Jig~J~9J1S under Partnership Agreement.

                        (a)     The General Partner, acting on behalf of the Partnership, may accept or reje.ct the
        Subscription in the General Partner's sole and absolute discretion. If the Subscription is accepted, the
        General Partner will cause Subscriber to be admitted into the Partnership as a Limited Partner and execute
        the Partnership Agreement as Subscriber's attorney-in-fact pursuant to Section 13(a). Jn connection with
        such acceptance and admission, the General Partner (acting in its sole and absolute discretion) will
        determine the amount of Subscriber's Capital Commitment; provided, however, that such amount will not
        in any event exceed the amount set forth below as the "Subscription Amount."

                          (b)     Subscriber hereby ratifies, adopts and accepts the Partnership Agreement. If
        Subscriber is admitted as a Limited Partner pursuant to Section 2(a), Subscriber will be bound by the
        Partnership Agreement and will duly satisfy all of Subscriber's obligations arising thereunder. Without
        limitation on the preceding sentence, in the event Subscriber fails to make payments in respect of its
        Capital Commitment when due, Subscriber will be subject to strict enforcement of the default provisions
        set forth in the Partnership Af,rreement.

                          (c)    If Subscriber deposits funds with the Partnership's legal counsel or an escrow
        agent in anticipation of Subscriber's initial capital contribution (if required under the Partnership
        Agreement), and Subscriber is admitted into the Partnership as a Limited Partner, any interest that accmes
        on such funds will be paid over to the Partnership and treated as a capital contribution to the Partnership
        in respect of Subscriber's Capital Commitment. If Subscriber is not admitted into the Partnership, such
        interest will be paid over to Subscriber.



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                         BC004016
                                                                                                     SEC-SONY_EPROD~000005095
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               3.      £:'1q_;!il!g. Subject to Section .10, Subscriber's admission into the Partnership in
        accordance with the terms of this Subscription Agreement (the "Closing") will occur at such time (the
        "Closing Time") and place as is determined by the General Partner.

                4.      R~PKS'..sentations as to Investor:..Status. Subscriber has carefully reviewed, completed and
        signed, or caused its authorized representative to sign, Exhibit A attached hereto and makes each of the
        representations set forth therein and such representations are true and correct in all respects.

                5.      Other Representations and Warranties of Subscriber. Subscriber hereby represents and
        warrants to the General Partner and the Partnership as follows:

                         (a)     Subscriber is acquiring the Partnership Interest for Subscliber's own account for
        investment, with no intention of distributing or reselling any portion thereof within the meaning of the
        Securities Act of 1933, as amended (the "Securities Act"), and will not transfer the Partnership Interest in
        violation of the Securities Act or the then applicable mies or regulations thereunder or any other
        applicable law. No one other than Subscriber has any interest in or any right to acquire any portion of the
        Pmtnership Interest or any interest in the Subscription. Subscriber hereby confirms and makes all of the
        representations and warranties of a Limited Partner set forth in the Partnership Agreement. Subscriber
        understands and acknowledges that the Partnership will have no obligation to recognize the ownershlp,
        beneficial or otherwise, of the Partnership Interest by anyone other than Subscriber, except as provided in
        the Partnership Agreement.

                        (b)      Subscriber is able to bear the financial and other risks of holding the Partnership
        Interest for an indefinite period of time and the risk of loss of Subscriber's entire investment in the
        Partnership. Subscriber has such knowledge and experience in financial and business matters that
        Subscriber is capable of evaluating the merits and risks of acquiring the Partnership Interest and of
        making an infom1ed investment decision with respect thereto.

                         (c)     Subscriber has reviewed and understands the confidential offering materials
        prepared by the Partnership related to this Subscription (the "Offering 1lfaterials"), the Partnership
        Agreement, and this Subscription Agreement. For purposes of the preceding sentence, the Offering
        Materials and the Partnership Agreement means the most recent versions of such documents that were
        made available to Subscriber through the time immediately prior to the execution of this Subscription
        Agreement. In addition, Subscriber acknowledges that: (i) there may be material differences between the
        descriptions of Partnership tenns and conditions in the Offering Materials and the actual terms and
        conditions set forth in the Partnership Agreement; (ii) Subscriber has reviewed Schedule 5(c) annexed
        hereto which has been prepared by the Partnership and sets forth in reasonable detail the material
        differences (if any) between the Offering Materials presented and the final Partnership Agreement; and
        (iii) in the event of such differences, the tenns and conditions of the Partnership Agreement will
        supersede any contrary information set forth in the Offering Materials.

                        (d)      Subscriber acknowledges and agrees that, except as set forth in the Partnership
        Agreement, the Offering Materials, this Subscription Agreement, or an additional written document
        (executed by a member or officer of the General Partner) which clearly and explicitly indicates that
        Subscriber is entitled to rely thereon, Subscriber has neither received, nor is entitled to rely upon, any
        representations or warranties from the Partnership, the General Partner, or any partner, member, officer,
        employee, attorney, or agent thereof. Subject to the preceding sentence: (i) the General Partner and its
        members or officers have made available all additional information which Subscriber has requested in
        connection with the transactions contemplated by the Partnership Agreement, the Offering Materials and
        this Subscription Agreement; (ii) Subscriber has been provided the opp01tunity to ask questions of and
        receive answers from the General Partner and its members or officers concerning the terms and conditions



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                          BC004017
                                                                                                  SEC-SONY_EPROD~000005096
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        of the Partnership Agreement and this Subscription Agreement and the purchase of the Partnership
        Interest; and (iii) Subscriber has been provided the oppmtunity to obtain any additional information (to
        the extent the General Partner had such information or could acquire it without umeasonable effort or
        expense) necessary to verify the accuracy of information otherwise furnished by the General Partner, its
        members or its officers. Subscriber has investigated the acquisition of the Partnership Interest to the
        extent Subscriber deemed necessary or desirable and the General Partner has provided Subscriber with
        any assistance Subscriber has requested in connection therewith.

                          (e)      Subscriber is aware that Subscriber's rights and ability to transfer the Partnership
        Interest are restricted by the Securities Act, applicable state securities laws, the laws of other jurisdictions,
        the Partnership Agreement and the absence of a market for the Partnership Interests. Subscriber further
        understands that: (i) the Partnership does not intend, and is not required, to register the Partnership
        Interests under the Securities Act; and (ii) except as provided in the Partnership Agreement, Subscriber
        will have no right to withdraw from the Partnership or to receive distributions in liquidation of its
        Partnership Interest.

                        (f)      Subscriber understands that Subscriber's Partnership Interest will not be
        evidenced by a certificate subject to Article 8 of the Uniform Commercial Code.

                          (g)     Subscriber understands that the Offering Materials, the Partnership Agreement
        and this Subscription Agreement do not purport to satisfy the "prospectus" requirements that would apply
        to the issuance of the Partnership Interest if the offering of the Partnership Interest were a "public
        offering" within the meaning of the Securities Act. Subscriber is not acquiring the Partnership Interest as
        a result of, or in reliance on, any advertisement, article, notice or other communication published in any
        newspaper, magazine or similar media or broadcast over television or radio or any other general
        solicitation regarding the offering of Partnership Interests conducted by the General Partner or any of its
        partners, members, officers, employees or agents.

                         (h)      Subscriber has full power and authority or full capacity, as applicable, to execute,
        deliver and satisfy its obligations under the Partnership Agreement and this Subscription Agreement, and
        such actions will not cause Subscriber to be in breach or violation of any contractual, legal or regulatory
        duty or obligation.

                        (i)      Subscriber understands that no governmental agency has made any finding or
        detennination as to the fairness of the terms of the offering and sale of the Pmtnership Interest or of the
        Partnership Agreement.

                        (j)      Subscriber is not relying on the Partnership, the General Partner or any of their
        partners, members, officers, employees, attorneys, agents or representatives for legal, accounting,
        investment or tax advice, and Subscriber has sought independent legal, accountfrig, investment and tax.
        advice to the extent Subscriber has deemed necessary or appropriate in connection with Subscriber's
        decision to subscribe for the Partnership Interest.

                       (k)      To the best of Subscriber's knowledge, the money to be contributed in respect of
        Subscriber's Capital Corrunitment is not related to, or derived from, any activities that would be illegal
        under United States law or the laws of any individual state.

                6.      Representations and Warranties of the Partnership. Upon the General Partner's execution
        of the Partnership Agreement on behalf of Subscriber, the Partnership will be deemed to make the
        following representations and warranties. As of the Closing Time:




        291472.2                                                3



CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                               BC004018
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                           (a)    The Partnership is validly existing and in good standing as a limited partnership
         under the laws of the State of Hawaii, and has all requisite power and authority to carry on its business as
         described in the Offering Materials. The General Partner is validly existing and in good standing as a
         limited liability company under the laws of the State of Hawaii. The General Partner has all requisite
         power and authority to act as the General Partner of the Partnership.

                          (b)     The Partnership has full power and authority to execute, deliver and satisfy its
         obligations under this Subscription Agreement, and such actions will not cause the Partnership to be in
         breach or violation of any material contractual, legal or regulatory duty or obligation. The General
         Partner has full power and authority to execute, deliver and satisfy its obligations under the Partnership
         Agreement, and such actions will not cause the General Partner to be in breach or violation of any
         material contractual, legal or regulatory duty or obligation.

                         (c)      Neither the Partnership nor anyone acting on its behalf has knowingly taken or
         will take any action that would subject the issuance and sale of the Partnership Interest to the registration
         requirements of the Securities Act.

                      (d)    The Partnership is not required to register as an "investment company" under the
        Investment Company Act.

                         (e)      There is no action, proceeding or investigation pending or, to the knowledge of
         the General Partner or the Partnership, threatened against the General Partner or the Partnership.

                         (f)     All of the disclosures included in the Offering Materials furnished by or on
        behalf of the Partnership to the Subscriber regarding the Partnership and the transactions contemplated
        hereby, are true and correct and do not contain any untrue statement of a material fact or omit to state any
        material fact necessary in order to make the statements made therein, in light of the circumstances under
        which they were made, not misleading. The Partnership acknowledges and agrees that the Subscriber
        does not make and has not made any representations or warranties with respect to his or its investment in
        the Partnership or any other transaction contemplated hereby other than those specifically set forth in
        Section 5 hereof.

                         (g)      Assuming the accuracy of the Subscriber's representations and warranties set
        forth in Section 5, neither the Partnership, nor any of its Affiliates, nor any Person acting on its or their
        behalf has, directly or indirectly, made any offers or sales of any security or solicited any offers to buy
        any security, under circumstances that would cause this offering of the Partnership Interests to be
        integrated with prior offerings by the Partnership for purposes of the Securities Act which would require
        the registration of any such securities under the Securities Act.

                   7.    Accuracy of Information.

                         (a)     Subscriber hereby undertakes that the representations and warranties made by
        Subscriber and the information provided by Subscriber in this Subscription Agreement are true and
        accurate as of the date of this Subscription Agreement and, except as may be set forth in a written notice
        (which describes any discrepancy in reasonable detail) actually received by the General Partner (via the
        means and at the address set forth therefor in Section 12(h)) prior to the Closing, will be true and accurate
        at all times through the Closing Time. Without limiting the duties of Subscriber under the foregoing
        provisions of this Section 7 or otherwise limiting the rights of the General Partner and the Partnership: (i)
        Subscriber will immediately notify the General Partner in writing in the event that, at any time prior to the
        Closing Time, any representation, warranty or other information described in this Section 7 fails to be
        true and accurate; and (ii) if the General Partner receives from Subscriber within seven days after the



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                            8C004019
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        Closing Time any notice described in this Section 7, the General Partner may, in its sole and absolute
        discretion, rescind Subscriber's admission into the Partnership.

                          (b)    The Partnership hereby undertakes that the representations and warranties made
        by the Partnership and the information provided by the Partnership in this Subscription Agreement are
        tme and accurate as of the date of this Subscription Agreement and, except as may be set forth in a
        -wTitten notice (which describes any discrepancy in reasonable detail) actually received by the Subscriber
        via the means and at the Subscriber's address set forth herein prior to the Closing, will be true and
        accurate at all times through the Closing Time. Without limiting the duties of the Partnership under the
        foregoing provisions of this Section 7(b) or otherwise limiting the rights of the Subscriber, (i) the
        Partnership will immediately notify the Subscriber in writing in the event that, at any time prior to the
        Closing Time, any representation, warranty or other infonnation described in this Section 7(b) fails to be
        true and accurate; and (ii) if the Subscriber receives from the Partnership within seven days after the
        Closing Time any notice desclibed in this Section 7(b), the Subscriber may rescind its investment in the
        Pattnership and receive a full refund of 100% of such Subscriber's Capital Contribution and Subscription
        Amount investment in the Partnership, without interest or deduction.

                 8.      Indemnification. Each of the Partnership and the Subscriber acknowledges that the other
        pmty will rely upon the representations, wan-anties and other infonnation as set forth in this Subscription
        Agreement, as well as in any notices provided under Section 7, in detemuning whether Subscriber should
        invest in the Partnership or be adnutted into the Partnership. Accordingly, each of the Subscriber, on one
        hand, and the Partnership, on the other hand (as applicable, an "IndemnifYillg Par(y"), agrees to and will
        indemnify and hold harmless the other party, the General Partner (if applicable) and each partner,
        member, officer, employee, attorney, agent and other Affiliate of each of them (as applicable, each an
        "Indemnified Party"), to the extent pemritted by law, from and against any and all loss, damage or
        liability due to or arising out of a breach of any representation or warranty of an Indemnifying Party or
        any other inaccuracy of an Indemnifying Party contained in this Subscription Agreement or any notice of
        an Indemnifying Party provided under Section 7. Notwithstanding any provision of the Partnership
        Agreement to the contrary, all representations, warranties and covenants contained in this Subscription
        Agreement will survive the execution and delivery of this Subscription Af,rreement and the admission of
        Subscriber as a Limited Partner into the Partnership.

              9.       Transferability.      The rights and obligations of Subscriber under this Subscription
        Agreement are not transferable.

                 10.     NQ_.R~Y..Q9!!!9I!· The Subscription may be revoked solely by means of a written notice of
        revocation executed by Subscriber and actually received by the General Pai1ner via the means and at the
        address set forth therefor in Section 12. Such notice of revocation will become effective at the latest to
        occur of: (a) the 301h day following the date of such actual receipt by the General Partner; and (b) any later
        effective date specified in such notice. Notwithstanding the foregoing, the Subscription \Vill not in any
        event be revoked if it has been accepted, in whole or in part, by the General Partner prior to the
        effectiveness of such notice.

                 11.      Termination of Agreement. If the Subscription is revoked pursuant to Section 10 or
        rejected in full by the General Partner, this Subscription Agreement will thereafter be deemed terminated
        and without further force or effect.

                 12.    N2ti~.~-~.....CQ!l§.~nt~, Elections,,......E.t.9.. All notices, consents, agreements, elections,
         acceptances, amendments, and approvals provided for or permitted by this Subscription Agreement will
         be in writing. Without limitation on the preceding sentence, acceptance of the Subscription will occur
         only pursuant to a written document executed by the General Partner. For purposes of the following



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                          BC004020
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        provisions of this Section 12, the term "notice" will be deemed to include any notice, statement,
        document, report, consent or similar item required or permitted to be provided to one or more Persons
        under this Subscription Agreement or applicable law.

                         (a)     Notice to Subscriber. Except as otherwise specifically provided in this
        Subscription Agreement, notice to Subscriber will be deemed duly given upon the earliest to occur of the
        following: (i) personal delivery to Subscriber at the address set forth below, or at any other address which
        Subscriber has provided to the General Partner for purposes of this Section 12(a); (ii) the Close of
        Business on the second day after being deposited in the United States mail, registered or certified, postage
        prepaid and addressed to Subscriber at the address set forth below, or at any other address which
        Subscriber has provided to the General Partner for purposes of tr.Js Section 12(a); (iii) the Close of
        Business on the first business day after being deposited in the United States with a nationally recognized
        overnight delivery service, with delivery charges prepaid, addressed as provided in the preceding clause,
        and marked for next business day delivery; (iv) at the time of transmission by electronic mail; or (v) at the
        time of transmission by facsimile, transmitted to Subscriber at its facsimile number specified herein, with
        confirmation of receipt made by printed confin11ation sheet verifying successful transmission of the
        facsimile.

                         (b)    Notice to the General Partner. Except as otherwise specifically provided in this
        Subscription Agreement, notice to the General Pa1iner will be deemed duly given when clearly identified
        as such and duly given to the General Partner in accordance with the procedures set forth in Section
        12(a). For purposes of the preceding sentence, the General Paitner's address initially will be 77 Ho'okele
        Street, Unit 101, Kahului, Hawaii 96732 (fax: 808-298-0450).

                   13.   Power of Attorney.

                         (a)     Subscriber hereby grants to the General Partner a special power of attorney,
        making, constituting and appointing the General Partner as Subscriber's attorney-in-fact, with full power
        and authority to act in Subscriber's name and on Subscriber's behalf to execute, acknowledge and swear
        to the execution, acknowledgment and filing of the Certificate of Limited Partnership and the Partnership
        Agreement as well as any other docmnents as are necessary to create, operate, dissolve or liquidate the
        Partnership in accordance with the tenns of the Partnership Agreement and this Subscdption Agreement.
        In the event of conflict between the Partnership Agreement and any other document executed,
        acknowledged or filed pursuant to this power of attorney, the Partnership Agreement will control.

                           (b)     This special power of attorney is a special power of attorney coupled with an
        interest, is irrevocable, and will survive the death or legal incapacity of Subscriber.

                 14.     Miscellaneous. Subscriber will pay Subscriber's own expenses relating to this
        Subscription Agreement and the transactions contemplated hereby. Neither this Subscription Agreement
        nor any term hereof may be changed, waived, discharged or tenninated except with the written consent of
        Subscriber and the Partnership. This Subscription Agreement may be executed in any number of
        counterparts, each of which will be an original but all of which taken together will constitute one
        agreement. Electronically transmitted signature pages or facsimile copies of original signature pages will
        be deemed to be, and will be legally effective as, originally signed signature pages for all purposes of this
        Subscription Agreement. This Subscription Agreement and all amendments hereto will be govemed by
        and interpreted and enforced in accordance with the laws of the State of Hawaii as such laws are applied
        to a&>reements entered into and to be performed entirely within Hawaii by Hawaii residents, without
        giving effect to principles of conflict of laws or the choice of law rules of any jurisdiction to the extent
        that the application of the laws of any jurisdiction other than the laws of the State of Hawaii would be
        required or permitted thereby. To the extent permitted by the Act and other applicable law, the provisions



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                           BC004021
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        of this Subscription Agreement will supersede any contrary provisions of the Act or other applicable law.
        In the event any provision of this Subscription Agreement is determined to be invalid or unenforceable,
        such provision will be deemed severed from the remainder of this Subscription Agreement and replaced
        with a valid and enforceable provision as similar in intent as reasonably possible to the provision so
        severed, and will not cause the invalidity or unenforceability of the remaining portion of this Subscription
        Agreement. The headings in this Subscription Agreement are for convenience of reference, and will not
        by themselves determine the meaning of this Subscription Agreement or of any part hereof.


                        (Remainder ofthis page left blank intentionally; signature pages follow.)




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                    BC004022
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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                                                 8C004023
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(                                                                                                                 mbloom Fund I, L.P.
                                                  GENERAL PARTNER SIGNATURE PAGE



            Subscriber Name: RSTP Capital. LLC
            Series of Partnership Interest: """U'"""'S$""'5,,_,,""'"000=,000='--_.S=e=n=·e=s"-'A.___ _ _ _ _ __
            Closing Time:
                                Month:          5:>eceNY1~
                                Day:                 \(;,   .\"'
                                Year:           201:)
                                Time:          l2_[a.m.@

            Effective as of the Closing Time:

                    1.       The undersigned, acting in it.s capacity as the General Partner of the Partnership, hereby
            agrees to the foregoing, accepts the Subscription, and hereby admit.s Subscriber into the Partnership as a
            Limited Partner with respect to the Series of Partnership Interests specified above.

                   2.      The General Partner's execution of the Partnership Agreement is hereby deemed to have
            been made, in part, as attorney-in-fact on behalf of Subscriber.
(                   3.      Subscriber·s Capital Commitment into the· Partnership is hereby deemed to equal
            $ 5.000,000       • which amount will be set forth as Subscriber• s Capital Commitment on Schedule A to
            the Partnership Agreement.


                       Executed this ~day ofl) fl.(!lrM~, 2013


                                                                                    MBLOOM VENTIJRES, LLC,
                                                                                    a Hawaii limited liability company



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    CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                                       BC004024
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                                            EXHIBIT A

                               ACCREDITED INVESTOR CERTIFICATION

                                          (attached hereto)




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                        8C004025
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                                                            MBLOOM FUND I, L.P.
                                              ACCREDITED INVESTOR ~-~RTifl('.A.lJQ~

                   The undersigned (hereinafter, "Subscriber") hereby represents and wan-ants that Subscriber is an
           "accredited investor" under Section 50l(a) of Regulation D promulgated under Section 4(a)(2) of the
           Securities Act of 1933, as amended (the "Act"), because Subscriber is (initial all applicable sections):


           FOR INDIVIDUAL.~__Q_NL Y.:

                          1.    I hereby certify that I am an accredited investor because I am an individual whose net
                                worth, or joint net worth with my spouse, exceeds $1,000,000. For purposes of this

             D                  questionnaire, "net worth" means the excess of total assets, 1 at fair market value, over
                                total liabilities.
            Initial

                          2.    I hereby certify that I am an accredited investor because I am an individual whose

             D                  individual income2 (i.e., exclusive of any income attributable to my spouse) exceeds
                                $200,000 in each of the two most recent years, and I reasonably expect to reach the
                                same income level in the current year.
            Initial

                          3.    l hereby certify that I am an accredited investor because I am an individual whose joint

             D                  income (i.e., inclusive of any income attributable to my spouse) exceeds $300,000 in
                                each of the two most recent years, and I reasonably expect to reach the same income
                                level in the current year.
            Initial




           FOR CORPORATIONS. PARTNERSHIPS OR BUSINESS TRUSTS:


                          4.    I hereby certify that I am an accredited investor because I am a corporation, partnership,
                                or. business trust, which has total assets in excess of $5,000,000 and was not formed for
                                the &'Pecific purpose of acquiring the subject Partnership Interest.
            .Initial




              ---------------
                 Notwithstanding anything to the contrary herein, for purposes of detem1ining "net worth"(!) the primary residence owned
           by an individual must be excluded from the net worth calculation, (2) the related amount of indebtedness secured by the primary
           residence up to the fair market value of that residence may also be excluded from the calculation, and (3) indebtedness secured by
           the primary residence in excess of the fair market value of that residence should be considered a liability and deducted from the
           Subscriber's net worth.
              2
                 For purposes of this questionnaire, individual income means adjusted gross income, as reported for Federal income ta,"
           purposes, Jess any income attributable to a spouse or to property owned by a spouse, increased by the foliowing amounts (not
           including amounts attributable to a spouse or a spouse's property): (a) the amount of any tax-exempt interest income under
           Section 103 of the Internal Revenue Code of 1986, as amended (the "Code"), received; (b) the amount of losses claimed as a
           limited partner in a limited partnership as reported on Schedule E of Fonn l 040; (c} any deduction claimed for depletion under
           Section 611, et seq. of the Code; (d) amcur:ts contributed to an Individual Retirement Account (as defined in the Code) or Keogh
           retirement plan; (e) alimony paid; and (f) any elective contributions to a cash or deferred arrangement under Section 40l(k) of the
           Code.



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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                                          BC004026
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                       5.   I hereby certify that I am an accredited investor because I am an entity where all of its
                            equity owners are accredited investors. Please attach a separate sheet listing all equity

              D             owners and setting forth the bases for the representation that they are accredited
                            investors.
             Initial



            fQR TRUSTS (OTHER THANJ~USINESS TRUSTS):

                       6.   I hereby certify that I am an accredited investor because I have total assets in excess of
                            $5,000,000, was not formed for the specific purpose of acquiring the su~ject Partnership

              D             Interest and its purchase is directed by a sophisticated person. (a "sophisticated person"
                            is one who has such knowledge a11d experience in financial and business matters that it
             Initial        is capable of evaluating the merits and .risks of the prospective investment).

                       7.   I hereby certify that I am an accredited investor because 1 am {i) a bank as defined in

             D              Section 3(a)(2) of the Act, (ii) acting in its fiduciary capacity as trustee, and
                            (iii) subscribing for the purchase of the securities being offered on behalf of a trust.
             Initial

                       8.   I hereby certify that I am an accredited investor because I am a revocable trust which

              D             may be amended or revoked at any time by the grantors thereof, and all of the granters
                            are accredited investors under either (a) Section 1 above ($1,000,000 net worth)
             Initial        (b) Section 2 above ($200,000 individual income), or (c) Section 3 above ($300,000
                            joint in.come).


            FOR OTHER IN~'.D.11.J.JIONS:


                       9.   I hereby certify that l am an accredited investor because I am a bank, as defined in

             D              Section 3(a)(2) of the Act, or savings and loan association or other institution, as defined
                            in Section 3(a)(5)(A) of the Act.
             Initial

                       10. I hereby certify that I am an accredited investor because I am an insurance company as

              D            defined in Section 2(13) of the Act.

             Initial

                       11. I hereby certify that I am an accredited investor because I am a broker or dealer

              D            registered pursuant to Section 15 of the Securities Exchange Act of 1934.

             Initial

                       12. I hereby certify that I am an accredited investor because I am an investment company

              D            registered under the Investment Partnership Act of 1940 or a business development
                           company as defined in Section 2(a)(48) of said Investment Partnership Act of 1940.
             Initial




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                       BC004027
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                        13. 1 hereby certity that 1 am an accredited investor because I am a Small Business
                            Investment Partnership licensed by the U.S. Small Business Administration under
                            Section 301( c) or (d) of the Small Business Investment Act of 1958.
             Initial

                        14. 1 hereby certify that I am an accredited investor because I am a private business
                            development company as defined in Section 202(a)(22) of the Investment Advisers Act
                            of 1940 (the "Investment Advisers Act").
             Initial




                     IN WITNESS WHEREOF, the undersigned has completed and executed this Accredited Investor
            Certification on the date set forth below, and declares that it is truthful and correct.




            FOR INDIVIDUALS:


                                   ~----------




            Signature of Subscriber (Individual)                 Signature of Co-Subscriber (Individual)



            Printed Name of Subscriber                           Printed Name of Co-Subscriber


            FOR ENTITIES:




            Entity Name (Full Legal Name)


            Entity Type and Jurisdiction of Fonnation




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CONFIDENTIAL TREATMENT REQUESTED BY B. COONEY                                                                     8C004028
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